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EXHIBIT I
 

Case 1:18-cv-03943-GLR Document 30-2 Filed 05/29/19 Page 2 of 3

 

 

 

 

 

 

State of Maryland MARTIN O’7MALLEY
DEPARTMENT OF GOVERNOR
ASSESSMENTS AND C. John Sullivan, Jr.
TAXATION Director

. _ James W. Roesner
Baltimore County Supervisor
Aupust 19, 2009
Friends of Lubavitch, Inc.

c/o Rabbi S. Kaplan, President
6701 Old Pimlico Road
Baltimore, Maryland 21209

Re: Application for Charitable/Fraternal Exemption
. Friends of Lubavitch, Inc.
14 Aigburth Road, Towson, MD 21286
Property Account No: 09-22-250090

Dear Rabbi Kaplan:

As per your application for a charitable exemption regarding the above referenced
property, you have been granted a full charitable exemption in accordance with Tax-Property
Article, § 7- 202 of the Annotated Code of Maryland. The exemption will be effective for the
tax year beginning July 1, 2009. You are, however, responsible for any metropolitan charges
and bay restoration fees on the property,

if our office can be of any further assistance, please contact Mrs. Mary Klawunder at the.
telephone number listed below Monday through Friday from 7:30 a.m., until 4:30 p.m.

_ Sincerely ,

ge be BbAICCA__

James W. Roesner
Supervisor

JWRimk i
People’s Counsel |

CBA Exhibit

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Hampton Plaza— Suite 602
300 E. Joppa Road
Towson, Maryland 21286
TELEPHONE 410-512-4905 FAX- 410-321-4148 - TTY Users Call Maryland Relay 1-800-735-2258

 

 
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AUG-13-39 18:55 AM . .
‘ STATE OF MARYLAND
DEPARTMENT OF ASSESSMENTS AND TAXATION
APPLICATION FOR EXEMPTION CHARITABLE PROPERTY

 
 

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Foes of LUBA ITCH, INC,
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2 What Umilatlons or rastrlations apply concerning who may use each separate facility? (A supplemental explanation aheal

may be allached.}
i Ie any part of this property tented? Yos J Not”

‘Ifyes, te whom and al whal fert? L

4, Doaa the appiloant organlzalion own any adjoining real property? Yes O no
3 Attach to this appicatian copies of the offanizetion's Articles of (noorporation and most recant operallng bylawa,
6G ({\he applicant arganlxalion purchased the property in iha Gurrent lakable yaar, it must aubmill 4 aopy of thie gelilament shizet

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SIGNATURE OF APPLE

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New Application &~* Re-Applicufian Ci Code Na.
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" People’s Counsel
Lica. ghee Go CBA Exhibit

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